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                                    MINUTES



 CASE NUMBER:           1:17-CR-00101-LEK
 CASE NAME:             United States of America v (01) Anthony T. Williams


      JUDGE:      Barry M. Kurren               REPORTER:

      DATE:       04/12/2018                    TIME:


COURT ACTION: EO:

The Court GRANTS [152] Government’s Motion for Two-week Continuance of the Due
Dates for Government’s Oppositions to [147] Defendant’s Motion for Disqualification of
Judge Kenneth Mansfield and [146] Motion for Rebuttal to Sworn Declaration of
Anthony Williams filed on March 26, 2018.

Responsive Memorandum or Memorandum in Opposition is due 04/17/2018.
Reply Memorandum is due 05/01/2018.

[146] Defendant's Motion for Rebuttal and [147] Motion for Disqualification of Judge
Kenneth Mansfield will be taken under submission thereafter and Court to issue an order
by District Judge Leslie E. Kobayashi.




Submitted by: Bernie Aurio, Courtroom Manager
